                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA


METLAKATLA INDIAN COMMUNITY,
a Federally Recognized Indian Tribe,

             Plaintiff,
                                               Case No. 5:20-cv-00008-SLG
                     v.

MICHAEL J. DUNLEAVY, Governor of
the State of Alaska,
DOUG VINCENT-LANG,
Commissioner of the Alaska
Department of Fish and Game, and
JAMES E. COCKRELL, Commissioner
of the Alaska Department of Public
Safety,

               Defendants.


        ORDER RE PARTIES’ JOINT MOTIONS TO VACATE TRIAL DATE,
      MODIFY BRIEFING SCHEDULE, AND BIFURCATE TRIAL ISSUES

      Before the Court at Docket 81 are the parties’ Joint Motions to Vacate the

Current Trial Date, Modify the Schedule, and Bifurcate Trial Issues.

      The Court finds, pursuant to Federal Rules of Civil Procedure, Rule 6(b),

that good cause exists to vacate the trial scheduled in this matter for February

10, 2025 and to modify this case’s pre-trial schedule. Therefore, the motion is

GRANTED and the February 2025 trial and all associated pretrial deadlines are

VACATED.




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       The Court also finds, pursuant to Federal Rules of Civil Procedure, Rule

42, that the fact finding of “whether the Community holds an off-reservation

fishing right in Alaska fishing districts 1 and 2” should be bifurcated from this

Court’s consideration of the limited entry permit program and the conservation-

necessity principle.

       As a result, the parties’ Joint Motions to Vacate the Current Trial Date,

Modify the Schedule, and Bifurcate Trial Issues at Docket 81 are GRANTED.

       Consistent with the parties’ joint motion, the Court orders the following:

       A.     The trial scheduled for the week of February 10, 2025 is vacated.

       B.     The Court adopts the following scheduling order, as agreed to by the

              parties:

              1. January 17, 2025: Expert Witness Disclosures

              2. February 17, 2025: Expert Witness Rebuttal Reports

              3. March 19, 2025: Deadline for Expert Witness Depositions

              4. Dispositive Motions Within 30 Days of Final Expert Depositions

                 with Opposition and Reply Deadlines Set Per Local Rule 7.2(b).

       C.     The Court set trial for five (5) days to start on August 18, 2025, in

       Juneau, Alaska. A separate trial scheduling order shall be issued.

       D.     At the upcoming trial, this Court will be determining whether the

       Community’s traditional off-reservation fishing grounds included the waters

       within Alaska’s Districts 1 and 2. If this Court determines that the


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       Metlakatla Indian Community’s traditional off-reservation fishing grounds

       included any of Alaska fishing districts 1 and 2, it will schedule a hearing

       with the parties. At that hearing, the parties will agree to a briefing

       schedule and a potential trial date to address the limited entry permit

       program’s impact and the conservation-necessity principle.

       DATED this 29th day of October, 2024, at Anchorage, Alaska.

                                          /s/ Sharon L. Gleason
                                          UNITED STATES DISTRICT JUDGE




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